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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :   CRIMINAL NO.
                                                 :
        v.                                       :   MAGISTRATE NO. 21-mj-067 (ZMF)
                                                 :
 KASH LEE KELLY,                                 :    VIOLATION:
                                                 :    40 U.S.C. § 5104(e)(2)(G)
                 Defendant.                      :    (Parading, Demonstrating, or Picketing in
                                                 :    a Capitol Building)


                                    INFORMATION

       The United States Attorney charges that at all relevant times:

                                           COUNT ONE

       On or about January 6, 2021, within the District of Columbia, KASH LEE KELLY,

willfully and knowingly paraded, demonstrated, and picketed in a Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104 (e)(2)(G))



                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             DC Bar No. 481052

                                     By:     /s/ Emory V. Cole_________________
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